
hORDER
Considering the Motion to Revoke Conditional Admission filed by the Office of Disciplinary Counsel, and the April 30, 2015 correspondence from respondent attached thereto agreeing to voluntarily relinquish his conditional admission,
IT IS ORDERED that respondent be and hereby is permitted to voluntarily relinquish his conditional right to practice law in the State of Louisiana, effective immediately.
IT IS FURTHER ORDERED that respondent may not re-apply for admission until he can demonstrate at least a one-year period of sobriety and compliance with the terms and conditions of a contract with the Lawyers Assistance Program. In the event respondent chooses to submit an application for readmission, it shall be filed with the Disciplinary Board, which shall appoint a hearing committee to take evidence and report to this court whether respondent should be readmitted to the bar and allowed to practice law in Louisiana. The Office of Disciplinary Counsel shall participate in the hearing and provide such information, evidence, and recommendations to the hearing committee as may be appropriate.
IT IS FURTHER ORDERED that respondent shall pay all costs associated with these proceedings.
FOR THE COURT:
/s/ Jeannette J. Knoll
/s/ Justice, Supreme Court of Louisiana
